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14
                               UNITED STATES DISTRICT COURT

15
                             CENTRAL DISTRICT OF CALIFORNIA

16
     VANESSA BRYANT, Individually,         )               Consolidated Case No. 2:20-cv-08953
     and as Successor in Interest to KOBE )                FMO (PVCx)
17   BRYANT, Deceased; VANESSA             )
18   BRYANT, as Successor in Interest to )                 UNITED STATES OF AMERICA’S
     GB, a minor, deceased; NATALIA        )               OPPOSITION TO MOTION TO
19
     BRYANT, individually as Surviving )                   INTERVENE
20   Child of KOBE BRYANT;BB, a minor, )
21
     by her Natural Mother and Guardian Ad )
     Litem, VANESSA BRYANT; and CB, )                      Date: August 12, 2021
22   a minor, by her Natural Mother and    )               Time: 10:00 a.m.
23   Guardian Ad Litem, VANESSA            )               Dept: 6D
     BRYANT;                               )               Judge: Hon. Fernando M. Olguin
24
                                           )
25                  Plaintiffs,            )
                                           )
26
     vs.                                   )
27                                         )
28
                                           )
                                                       1

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 1
     ISLAND EXPRESS HELICOPTERS, )
 2   INC., a California Corporation;       )
     ISLAND EXPRESS HOLDING                )
 3
     CORP., a California Corporation; and )
 4   BERGE ZOBAYAN, as Personal            )
 5
     representative of and/or Successor in )
     Interest to ARA GEORGE ZOBAYAN, )
 6
     a California resident; OC             )
 7   HELICOPTERS, LLC a California         )
     Limited Liability Company; and DOES )
 8
     1 through 50,                         )
 9                                         )
10
                    Defendants.            )
     ________________________________ )
11                                         )
12   ISLAND EXPRESS HELICOPTERS, )
     INC., a California Corporation; and   )
13
     ISLAND EXPRESS HOLDING                )
14   CORP., a California Corporation,      )
15
                                           )
               Third-Party Plaintiffs,     )
16                                         )
17   vs.                                   )
                                           )
18
     UNITED STATES OF AMERICA, and )
19   ROES 1 through 50,                    )
                                           )
20
                Third-Party Defendants.
21

22
            The United States of America submits its opposition to SPORTS
23

24   ACADEMY, LLC SPORTS ACADEMY/THE HARTFORD ACCIDENT AND
25
     INDEMNITY COMPANY’s (INTERVENOR) Motion to Intervene. ECF 78.
26

27
     Presently, there are no direct or third-party allegations against the United States in

28   this matter and thus, no basis to file a Complaint-in-Intervention with respect to the
                                                       2

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 1
     United States. Further, even if the Court were to consider the United States a party
 2
     to this matter, neither Hartford nor its insured, Sports Academy, presented an
 3

 4   administrative claim to the Federal Aviation Administration (FAA) concerning this
 5
     matter, which is a jurisdictional prerequisite to seeking relief from the United
 6

 7   States in intervention. Rule 24 of the Federal Rules of Civil Procedure does not
 8
     create jurisdiction where it does not exist. Because Intervenor failed to present an
 9

10
     administrative claim, the Court lacks subject matter jurisdiction and the motion

11   must be denied as to the United States.
12
            I.      Background
13

14          This action for wrongful death arises out of the January 26, 2020 crash of a
15
     Sikorsky S-76 helicopter near Calabasas, California. The pilot and his eight
16

17   passengers died in the crash. As a result of the crash, Plaintiffs filed a wrongful
18
     death suit in Los Angeles Superior Court naming the owners/operators of the
19
     helicopter, Island Express Helicopters Inc. and Island Express Holding Corp.
20

21   (IEX), as defendants.
22
            On August 19, 2020, IEX filed a Cross-Complaint for indemnity and
23

24   declaratory relief naming FAA Air Traffic Controllers as cross defendants.
25
     Mauser ECF 1-2, Ex. B, Case No. 2:20-cv-08956-FMO-PVC.
26

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                                                       3

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 1
            On September 30, 2020, the United States timely removed the action
 2
     pursuant to 28 U.S.C. §§ 1442, 1446 and 2679(d)(2) and substituted itself for the
 3

 4   controllers as Third-Party Defendant. Mauser ECF 1.
 5
            On October 19, 2020, the United States filed a Motion to Dismiss the Third
 6

 7   Party Complaint for lack of subject matter jurisdiction. Mauser ECF 25. The
 8
     Court dismissed the Third-Party Plaintiffs’ declaratory relief claim and denied the
 9

10
     remainder of the motion on May 3, 2021. Mauser ECF 47. On May 14, 2021, the

11   United States filed its Answer to the Third Party Complaint. Mauser ECF 49.
12
            On May 24, 2021, the Court consolidated the Bryant, Mauser, Altobelli, and
13

14   Chester cases, and ordered the following:
15
            4. Plaintiffs shall file a Consolidated Complaint no later than June 8, 2021.
16          Plaintiffs are informed that the court cannot refer to a prior pleading in order
17          to make their Consolidated Complaint complete. Local Rule 15-2 requires
            that an amended pleading be complete in and of itself without reference to
18
            any prior pleading. This is because as a general rule, an amended pleading
19          supersedes the original pleading. See Ramirez v. Cty. of San Bernardino,
            806 F.3d 1002, 1008 (9th Cir. 2015) (“it is well established in our circuit
20
            than an amended complaint supersedes the original, the latter being treated
21          thereafter as non-existent. In other words, ‘the original pleading no longer
22
            performs any function[.]’”) (citations and internal quotation marks omitted)
            (emphasis in original).
23

24          5. Defendants shall file their answers, third party complaints, or Rule 12
            motions pursuant to the Federal Rules of Civil Procedure.
25

26   Bryant ECF 65 (hereinafter all ECF references pertain to the consolidated case).
27

28

                                                       4

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 1
            On June 8, 2021, Plaintiffs filed their Consolidated Complaint which
 2
     superseded the original complaint. ECF 67. Defendants’ Answers to the
 3

 4   Consolidated Complaint were due on June 29, 2021. Fed. R. Civ. P. 15(a)(3).
 5
     Defendants, however, did not file Answers or any Third-Party Complaints despite
 6

 7   the Court’s order that the amended pleading would supersede the original pleading
 8
     with the latter being treated as non-existent. On June 22, 2021, the Plaintiffs filed
 9

10
     a Notice of Settlement which expressly excluded the United States as part of the

11   settlement between the parties. ECF 72.
12
            On June 28, 2021, the Court entered an order vacating all deadlines
13

14   applicable to the settling parties. ECF 74. The Order states that the United States
15
     is to comply with responsive pleading deadlines set forth in its May 24th Order.
16

17   Id. Because Defendants did not file Answers or Third-Party Complaints, there are
18
     presently no claims or allegations against the United States which require a
19
     responsive pleading.
20

21          On July 9, 2021, Intervenor filed a Motion for Leave to File a Complaint-in-
22
     Intervention to recover for workers’ compensation death benefits paid by Hartford
23

24   for the death of Christina Mauser, a basketball coach employed by the Sports
25
     Academy at the time of the crash. ECF 78. Intervenor asserts that it has an
26

27
     unconditional right to pursue subrogation in the Third Party lawsuit while at the

28

                                                       5

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 1
     same time acknowledging that no Answers were filed in response to the
 2
     Consolidated Complaint. ECF 78 at 9:17 and 16:14-15.
 3

 4             As a threshold matter, the Court should deny the motion as to the United
 5
     States because there is no operative Complaint by any Plaintiffs or a Third Party
 6

 7   Complaint by any Third Party Plaintiff on file against the United States upon
 8
     which to base a Complaint-in-Intervention.
 9

10
              Even if the Court deemed the United States an active Third Party Defendant

11   based on IEX’s Third Party Complaint, originally filed in state court, subject
12
     matter jurisdiction is lacking because neither Hartford nor its insured, Sports
13

14   Academy, have presented an administrative claim to the FAA for this accident.1 In
15
     sum, because Intervenor did not exhaust the administrative claim prerequisites
16

17   mandated by federal statute, the Court is without jurisdiction to adjudicate its
18
     proposed complaint-in-intervention as it pertains to the United States. 28 U.S.C.
19
     § 2765.
20

21            II.    Argument
22
              The United States is immune from suit save as it consents to be sued, and the
23

24       terms of its consent to be sued in any court define that court’s jurisdiction to
25
         entertain the suit. United States v. Sherwood, 312 U.S. 584, 586 (1941); United
26

27

28
     1
        Notably, the Mauser Plaintiffs also have not presented an administrative claim, sued the United States,
     or made any attempt to join the United States in their suit against the Defendants.
                                                          6

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 1
     States v. Mitchell, 463 U.S. 206, 212 (1983). The Federal Tort Claims Act
 2
     (FTCA), 28 U.S.C. §§ 1346(b), 2671-2680, is a limited waiver of the United
 3

 4   States’ sovereign immunity for torts and requires “that before [a party] can file an
 5
     action against the United States in district court, [it] must seek an administrative
 6

 7   resolution of [its] claim.” Holloway v. U.S., 2:12-CV-02120-MCE-CKD, 2014
 8
     WL 1747467, at *2 (E.D. Cal. Apr. 29, 2014), aff’d, 636 F. App’x 965 (9th Cir.
 9

10
     2016) (denying an insurer’s motion to intervene where it had not submitted an

11   administrative claim) (citing Jerves v. U.S., 966 F.2d 517, 518 (9th Cir. 1992); 28
12
     U.S.C. §§ 1346(b).
13

14          The applicable section of the FTCA specifically provides:
15
            An action shall not be instituted upon a claim against the United
16          States for money damages for injury or loss of property or personal
17          injury or death caused by the negligent or wrongful act or omission of
            any employee of the Government while acting within the scope of his
18
            office or employment, unless the claimant shall have first presented
19          the claim to the appropriate Federal agency and his claim shall have
            been finally denied by the agency in writing and sent by certified or
20
            registered mail. . . .
21

22
     28 U.S.C. § 2675(a). The purpose of the requirement is “to encourage
23   administrative settlement of claims against the United States and thereby to
24
     prevent an unnecessary burdening of the courts.” Holloway, 2014 WL 1747467,
25

26   at *4 (quoting Jerves, 966 F.2d at 520). While an exception is provided for claims
27

28

                                                       7

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 1
     asserted “by third party complaint, cross-claim, or counterclaim,” no exception is
 2
     provided for claims in intervention. 28 U.S.C. § 2675(a).
 3

 4          The Ninth Circuit “[has] repeatedly held that the [administrative] exhaustion
 5
     requirement is jurisdictional in nature and must be interpreted strictly.” Holloway,
 6

 7   2014 WL 1747467, at *2 (quoting Vacek v. U.S. Postal Serv., 447 F.3d 1248,
 8
     1250 (9th Cir. 2006)). The FTCA bars claimants from suing in federal court until
 9

10
     they have exhausted their administrative remedies. 28 U.S.C. § 2675(a); McNeil

11   v. U.S., 508 U.S. 106, 113 (1993) (affirming dismissal of FTCA suit where the
12
     plaintiff failed to exhaust administrative remedies prior to filing suit but did so
13

14   before substantial progress was made in the litigation).
15
            Intervenor’s proposed Complaint-in-Intervention asserts jurisdiction is
16

17   proper pursuant to 28 U.S.C. § 1441(b) (removal) and 28 U.S.C. § 1332(a)
18
     (diversity). ECF 78-6 at 5:7-10. The FTCA, however, is the only basis for the
19
     Court’s jurisdiction over the United States. Intervenor fails to demonstrate or
20

21   allege that it presented an administrative claim as required prior to bringing a
22
     claim against the United States. ECF 78-6. Gillespie v. Civiletti, 629 F.2d 637,
23

24   640 (9th Cir. 1980) (district court’s dismissal of FTCA claims where the
25
     plaintiff’s complaint failed to show exhaustion of administrative remedies was
26

27
     appropriate but leave to amend should have been allowed); see also Gartner v.

28   Sec. & Exch. Comm’n, 913 F. Supp. 1372, 1381 (C.D. Cal. 1995) (exhaustion of
                                                       8

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 1
     administrative remedies should be alleged in the complaint or the court may
 2
     dismiss for lack of jurisdiction) (citing Hutchinson v. U.S., 677 F.2d 1322, 1327
 3

 4   (9th Cir. 1982) and Gillespie, 629 F.2d at 640). Indeed, there is no reference to an
 5
     administrative claim anywhere in Intervenor’s motion or Proposed Complaint-in-
 6

 7   Intervention. ECF 78, 78-6.
 8
            While Rule 24 provides the circumstances under which intervention is
 9

10
     proper procedurally, leave to intervene still must be denied if the federal court

11   lacks subject matter jurisdiction over the intervenor’s claims. In Holloway, the
12
     district court rejected the argument of an insurer that it should be allowed to
13

14   intervene in an FTCA action simply because the California Worker’s
15
     Compensation Act provided an unconditional right and the requirements of Rule
16

17   24 were met. Holloway, 2014 WL 1747467, at *2-4. The court concluded that
18
     the doctrine of sovereign immunity required it to deny the motion to intervene
19
     where the insurer failed to obtain the United States’ consent to be sued by availing
20

21   itself of administrative remedies. Id. at *2.
22
            Here, regardless of whether it can meet the Rule 24 requirements, Intervenor
23

24   has presented no administrative claim and has no independent cause of action.
25
     This Court lacks jurisdiction over Intervenor’s claim to the extent it seeks relief
26

27
     against the United States and Rule 24 cannot create jurisdiction where it does not

28

                                                       9

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 1
     exist. Fed. R. Civ. P. 82. (“These rules do not extend or limit the jurisdiction of
 2
     the district courts . . . .”).
 3

 4          III.    Conclusion
 5
            Following the filing of the Consolidated Complaint, there remained no
 6

 7   operative pleading against the United States. Therefore, there is no underlying
 8
     action to support a claim for intervention as it might pertain to the United States.
 9

10
     Even if the Court deemed an operative complaint on file against the United States,

11   Intervenor has not presented an administrative claim as mandated by the FTCA
12
     prior to bringing suit against the United States. As a result, the Court has no
13

14   subject matter jurisdiction over Intervenor’s alleged claim against the United
15
     States. The United States has not waived its sovereign immunity as to the
16

17   proposed claim in intervention. For these reasons, the motion to intervene should
18
     be denied as to the United States.
19
     Dated: July 22, 2021
20

21                                                 Respectfully submitted,
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                                   CERTIFICATE OF SERVICE
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            I, Karleen F. Murphy, hereby certify that a copy of the foregoing was
 3

 4   electronically filed with the Clerk of the Court using CM/ECF on July 22, 2021. I
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     United States of America’s Opposition to Motion        Consolidated Cases 2:20-cv-8953 FMO (PVCx)
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